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                           UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                    2211 UNITED STATES COURTHOUSE
                                       75 TED TURNER DRIVE, SW
                                     ATLANTA, GEORGIA 30303-3361
KEVIN P. WEIMER                                                                   DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                                   404-215-1655
AND CLERK OF COURT
                                            September 8, 2022

Clerk's Office - USCA No. 00-00000-00
U.S. Court of Appeals
Eleventh Circuit
56 Forsyth Street, NW
Atlanta, Georgia 30303

         Re:        United States of America v. Allen J. Pendergrass
                    USDC Criminal No. 1:17-cr-224-AT-CMS-1

       Enclosed are documents regarding an appeal in the action referenced above. Please
acknowledge receipt of same on the enclosed copy of this letter.

         Certified copy of notice of appeal, docket, order and/or judgment, and commitment
   X     appealed from enclosed.

         Original non-electronic record exhibits transmitted pursuant to request. (See attached copy of
         request.)

         Appeal fees been paid.

         Certified copy of order appointing Federal Defender Program enclosed.

   X     Certified copy of CJA order appointing counsel enclosed.

         Appellant has been forwarded an application to proceed IFP.

         Appellant has been leave to proceed IFP, copy of order enclosed.

         An appeal bond has been denied.

   X     District Judge appealed from is Honorable Amy Totenberg.

         Other: .

The enclosed certified, record on appeal consists of:

          Volume(s) of pleadings                                Envelope of Exhibits

          Volume(s) of transcripts.                             PSI enclosed. (SEALED)

                                                         Sincerely,

                                                         Kevin P. Weimer
                                                         Clerk of Court

                                                   By:   /s/P. McClam
Enclosures                                               Deputy Clerk
